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              UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF FLORIDA
                   ORLANDO DIVISION
HM-FLORIDA-ORL,LLC

        Plaintiffs,

v.                                                    Case No. 6:23-CV-00950

MELANIE GRIFFIN, IN HER OFFICIAL
CAPACITY AS SECRETARY OF THE STATE
DEPARTMENT OF BUSINESS AND
PROFESSIONAL REGULATION, STATE
OF FLORIDA

      Defendants.
___________________________

                          Uniform Case Management Report

       The goal of this case management report is to “secure the just, speedy, and
inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
3.02(a)(2), this case management report should be used in all civil cases except those
described in Local Rule 3.02(d). Individual judges may have additional case
management preferences that can be found under each judge’s name on the Court’s
website, flmd.uscourts.gov/judges/all.

1. Date and Attendees

     The parties may conduct the planning conference “in person, by telephone, or by
     comparable means[.]” See Local Rule 3.02(a)(1).

     The parties conducted the planning conference on 7/12/2023. Brice M. Timmons,
     counsel for Plaintiff, and William Stafford, Jeffrey DeSousa, and Nathan Forrester,
     counsel for Defendant, Melanie Griffin, attended the conference.

2. Deadlines and Dates

     The parties request these deadlines and dates:

     Action or Event                                                      Date
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    Deadline for providing mandatory initial disclosures. See Fed. R. Civ.
                                                                                   7/26/2023
    P. 26(a)(1).

    Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                   8/11/2023
    or amend the pleadings, see Fed. R. Civ. P. 15(a).

    Deadline for serving expert disclosures under Rule 26(a)(2),
    including any report required by Rule 26(a)(2)(B).                Plaintiff    9/27/2023
                                                                    Defendant      10/13/2023
                                                                      Rebuttal      30 days


    Deadline for completing discovery and filing any motion to compel
                                                                                   11/27/2023
    discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).

    Deadline for moving for class certification, if applicable. See Fed. R.          N/A
    Civ. P. 23(c). N/A

    Deadline for filing any dispositive and Daubert motion. See Fed. R. Civ.
                                                                                   1/26/2024
    P. 56. (Must be at least five months before requested trial date.)


    Deadline for participating in mediation. See Local Rules, ch. 4.
                                                                                     N/A
    Click or tap here to enter text.

    Date of the final pretrial meeting. See Local Rule 3.06(a).                    5/29/2024

    Deadline for filing the joint final pretrial statement, any motion in
    limine, proposed jury instructions, and verdict form. See Local Rule           6/5/2024
    3.06(b). (Must be at least seven days before the final pretrial conference.)

    Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
                                                                                   6/12/2024
    Rule 3.06(b).

    Month and year of the trial term.                                              6/26/2024


   The trial will last approximately 2 days and be

   ☐ jury.
   ☒ non-jury.


3. Description of the Action


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   PLAINTIFF BRINGS A FACIAL CHALLENGE TO THE CONSTITUTIONALITY OF SB
   1438 ON THE FIRST AND FOURTEENTH AMENDMENT GROUNDS

   DEFENDANT ASSERTS THAT PLAINTIFF LACKS STANDING TO MAINTAIN THIS
   ACTION AND OTHERWISE DENIES THAT PLAINTIFF IS ENTITLED TO RELIEF.

   DEFENDANT IS CONTEMPORANEOUSLY FILING A MOTION TO HOLD THE
   DISTRICT COURT PROCEEDINGS IN ABEYANCE PENDING THE APPEAL TO THE
   11TH CIRCUIT COURT OF APPEALS OF THIS COURT’S ORDER GRANTING
   PRELIMINARY INJUNCTIVE RELIEF.

   PLAINTIFF OBJECTS TO THE GRANTING OF THIS MOTION.

   THE PARTIES AGREE THAT MEDIATION IS NOT WARRANTED IN THIS CASE.

4. Disclosure Statement

   ☒ The parties have filed their disclosure statement as required by Federal Rule of
   Civil Procedure 7.1 and Local Rule 3.03.

5. Related Action

   ☒ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
   notify the judge of a related action pending in the Middle District or elsewhere by
   filing a “Notice of a Related Action.” No notice need be filed if there are no related
   actions as defined by the rule.

6. Consent to a Magistrate Judge

   “A United States magistrate judge in the Middle District can exercise the maximum
   authority and perform any duty permitted by the Constitution and other laws of the United
   States.” Local Rule 1.02(a). With the parties’ consent, a district judge can refer any civil
   matter to a magistrate judge for any or all proceedings, including a non-jury or jury trial.
   28 U.S.C. § 636(c).

   The Court asks the parties and counsel to consider the benefits to the parties and the Court
   of consenting to proceed before a magistrate judge. Consent can provide the parties
   certainty and flexibility in scheduling. Consent is voluntary, and a party for any reason
   can decide not to consent and continue before the district judge without adverse
   consequences. See Fed. R. Civ. P. 73(b)(2).




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   ☐ The parties do consent and file with this case management report a completed
   Form AO 85 “Notice, Consent, and Reference of a Civil Action to a Magistrate
   Judge,” which is available on the Court’s website under “Forms.”
   ☒ The parties do not consent.

7. Preliminary Pretrial Conference

   ☒ The parties do not request a preliminary pretrial conference before the Court
   enters a scheduling order.
   ☐ The parties do request a preliminary pretrial conference, and the parties want to
   discuss enter discussion points.

8. Discovery Practice

   The parties should read the Middle District Discovery Handbook, available on the Court’s
   website at flmd.uscourts.gov/civil-discovery-handbook, to understand discovery practice
   in this District.

   ☒ The parties confirm they will comply with their duty to confer with the opposing
   party in a good faith effort to resolve any discovery dispute before filing a motion.
   See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.

9. Discovery Plan

   The parties submit the following discovery plan under Rule 26(f)(2):

   A.   The parties agree to the timing, form, or requirement for disclosures under
        Rule 26(a):

         ☒ Yes.
         ☐ No; instead, the parties agree to these changes: enter changes.

   B.   Discovery may be needed on these subjects: (1) legislative history of HB
        1438; (2) statements made by officials with authority to enforce the
        legislation; and (3) Plaintiff’s standing to maintain this action.

   C.   Discovery should be conducted in phases:

         ☒ No.
         ☐ Yes; describe the suggested phases.




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    D. Are there issues about disclosure, discovery, or preservation of
       electronically stored information?

         ☒ No.
         ☐ Yes; describe the issue(s).

    E.   ☒ The parties have considered privilege and work-product issues,
         including whether to ask the Court to include any agreement in an order
         under Federal Rule of Evidence 502(d).

    F.   The parties stipulate to changes to the limitations on discovery imposed
         under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
         limitations:

         ☒ No.
         ☐ Yes; describe the stipulation.

10. Request for Special Handling

    ☒ The parties do not request special handling.
    ☐ The parties request special handling. Specifically, describe requested special
    handling.
    ☐ Enter party’s name unilaterally requests special handling. Specifically, describe
    requested special handling.

11. Certification of familiarity with the Local Rules

    ☒ The parties certify that they have read and are familiar with the Court’s Local
    Rules.

12. Signatures


/s/Brice M. Timmons                             /s/Nathan Forrester
Brice M. Timmons, Esq.                          Nathan Forrester, Esq.
HM-FLORIDA-ORL, LLC                             Melanie Griffin
7/12/2023                                       7/12/2023




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/s/William Stafford                      /s/Jeffrey DeSousa
William Stafford, Esq.                   Jeffrey DeSousa, Esq.
Melanie Griffin                          Melanie Griffin
7/12/2023                                7/12/2023




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